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                                   COMMONWEALTH OF KENTUCKY
                                   HOPKINS COUNTY CIRCUIT COURT
                                             DIVISION
                                       CASE NO.: 18-CI-

                                            Filed Electronically

        DAVE E. TROTTER                                                           PLAINTIFFS
        18364 Dawson Springs Road
        Dawson Springs, Kentucky 42408

        And

        BRENDI JENNIFER TROTTER
        18364 Dawson Springs Road
        Dawson Springs, Kentucky 42408

        vs.

        FRONTLINE EQUIPMENT, LLC
        9477 Front Mountain Road
        Allensville, Pennsylvania 17002




                                                                                                         Presiding Judge: HON. JAMES BRANTLEY (604268)
        SERVE:       Via Kentucky Secretary of State:
                     KENTUCKY SECRETARY OF STATE
                     State Capitol
                     700 Capital Avenue, Suite 152
                     Frankfort, KY 40601

        and

        PAUL ARBOGAST                                                            DEFENDANTS
        9267 Front Mountain Road
        Allensville, Pennsylvania 17002

        SERVE:       Via Kentucky Secretary of State:
                     KENTUCKY SECRETARY OF STATE
                     State Capitol
                     700 Capital Avenue, Suite 152
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                                   COMPLAINT AND JURY DEMAND




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               Come now Plaintiffs, Dave E. Trotter and Brendi Jennifer Trotter, by and through counsel,

        and for their Complaint state as follows:

                                         JURISDICTIONAL ALLEGATIONS

               1.      Plaintiffs, Dave E. Trotter and Brendi Jennifer Trotter [hereinafter referred to as

        “Plaintiff” or “Plaintiffs”], are citizens of the State of Kentucky and residents of Hopkins County,

        Kentucky, residing at 18364 Dawson Springs Road, Dawson Springs, KY 42408. At all times

        relevant herein they have been and are legally husband and wife.

               2.      Defendant, Frontline Equipment, LLC [hereinafter referred to “Defendant”], is a

        Pennsylvania Limited Liability Company with its statutory home office located at 9477 Front

        Mountain Road, Allensville, Pennsylvania 17002. Defendant Frontline Equipment, LLC has

        availed itself of the laws provided by the Commonwealth of Kentucky and has manufactured,




                                                                                                               Presiding Judge: HON. JAMES BRANTLEY (604268)
        assembled, installed, modified, advertised, marketed, distributed, sold or otherwise caused to be

        located in the Commonwealth of Kentucky, a defective product, which caused tortious injury in

        the Commonwealth of Kentucky. Defendant Frontline Equipment, LLC is not licensed to do

        business in the Commonwealth of Kentucky. Defendant Frontline Equipment, LLC has failed to

        appoint an Agent for Service of Process in Kentucky, therefore pursuant to KRS 454.170, Alison

        L. Grimes, the Kentucky Secretary of State is its Agent for Service of Process. The Secretary of

        State is requested to notify Frontline Equipment, LLC of this action by sending a copy of this

        Complaint to the address on the caption of this Complaint.

               3.      Defendant, Paul Arbogast, is an installer, assembler, independent contractor, agent

        and/or employee of Defendant Frontline Equipment, LLC and his principal address is at 9267
                                                                                                               COM : 000002 of 000018




        Front Mountain Road, Allensville, Pennsylvania 17002. Defendant, Paul Arbogast has availed

        himself of the laws provided by the Commonwealth of Kentucky and has manufactured,


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        assembled, installed, advertised, marketed, distributed, sold, approved of, certified the safety of or

        otherwise caused to be located in the Commonwealth of Kentucky, a defective product which

        caused tortious injury in the Commonwealth of Kentucky. Pursuant to KRS 454.170, Paul

        Arbogast’s Agent for Service of Process is Alison L. Grimes, the Kentucky Secretary of State.

        The Secretary of State is requested to notify Paul Arbogast of this action by sending a copy of this

        Complaint to the address on the caption of this Complaint.

                  4.   Jurisdiction is proper in that the actions described in this Complaint occurred in

        Hopkins County, Kentucky, and the amount in controversy for each claim exceeds the

        jurisdictional minimum of this Court.

                  5.   Venue is proper in that the events complained of took place in Dawson Springs,

        Hopkins County, Kentucky.




                                                                                                                 Presiding Judge: HON. JAMES BRANTLEY (604268)
                                                FACTUAL ALLEGATIONS

                  6.   Plaintiffs incorporate by reference the allegations contained in Paragraphs 1

        through 5 of this Complaint as if fully rewritten herein.

                  7.   On/or about October 18, 2017, Plaintiff, Dave E. Trotter, a Rip Saw Operator, was

        at the operator’s station, Gang Rip Saw, cutting wooden boards that were traveling on the

        Frontline Transfer 21” Roll Case for his Employer, Larix Inc. located at 260 Charleston Road,

        Dawson Springs, Kentucky 42408, Hopkins County Kentucky [hereinafter referred to as “Larix,

        Inc."].

                  8.   On/or about October 18, 2017, wooden boards got stuck on the screw rolls of the

        Frontline Roll Case 28” AOL Pan Dump Transfer [hereinafter referred to as “Frontline Roll Case
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        roller line conveyor”].




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               9.      Plaintiff left the operator’s station to straighten and/or remove the boards to allows

        them to be processed correctly.

               10.     Plaintiff reached over to a spiral roller (screw roller) to remove wood out of a roller

        line of the Frontline Roll Case roller line conveyor as it was running, and his glove got caught and

        pulled his right hand into converging rollers.

               11.     Plaintiff’s right hand was pinned between the roller and metal frame of the

        conveyor. The conveyor was neither locked out nor guarded.

               12.     There was not an emergency stop button within Plaintiff’s reach, and the screw

        rolls temporarily continued running with his gloved hand in between the rolls.

               13.      After Plaintiff’s yelling for help the screws rolls were stopped. Neither Plaintiff

        nor his co-workers were able to loosen the screw rolls and were unable to remove his hand.




                                                                                                                  Presiding Judge: HON. JAMES BRANTLEY (604268)
        Finally, co-workers used cutting equipment to remove a portion of the machinery enabling

        Plaintiff to remove his hand.

               14.     Plaintiff was transported from the worksite in Dawson Springs, Kentucky by car to

        Baptist Hospital in Madisonville, Kentucky and, due to the severity of his injuries, was transferred

        to Jewish Hospital at 200 Abraham Flexner Way in Louisville, Kentucky 40202.

               15.     Surgery was performed by members of Kleinert Kutz and Associates. Plaintiff

        Dave E. Trotter sustained serious and disabling hand injuries as a result of the incident. Plaintiff

        sustained multiple injuries, including but not limited to, displaced fracture of the shaft of his third

        metacarpal bone on his right hand, displaced fracture of the proximal phalanx of his right little

        finger, displaced fracture of the proximal phalanx of his right ring finger, displaced fracture of his
                                                                                                                  COM : 000004 of 000018




        proximal phalanx of his right middle finger, displace fracture of his proximal phalanx of his right

        index finger, displace fracture of the phalanx of his right ring finger, complete traumatic

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        transphalangeal amputation of his right little finger, complete traumatic transphalangeal

        amputation of his right thumb and a displaced fracture of his proximal phalanx of his right middle

        finger. Plaintiff continues to suffer from disability and is continuing medical treatment.

               To date, Plaintiff has incurred medical and related bills in excess of one hundred and thirty

        one thousand ($131,000.00) dollars and is continuing to incur substantial medical and related bills,

        as well as suffering from mental and physical pain and suffering loss of income.

                                          COUNT I
                     NEGLIGENCE OF DEFENDANTS, FRONTLINE EQUIPMENT, LLC
                                     AND PAUL ARBOGAST

               16.     Plaintiffs incorporate by reference the allegations contained in Paragraphs 1

        through 15 of this Complaint as if fully rewritten herein.

               17.     Defendant Frontline equipment, LLC, by and through its’ agents, employees and/or




                                                                                                               Presiding Judge: HON. JAMES BRANTLEY (604268)
        contractors directly participated in the design, manufacture, assembling, installing, marketing

        and/or selling or placing into the stream of commerce the Frontline Roll Case 28” conveyor

        system within the boundaries of the Commonwealth of Kentucky.

               18.     Defendant Paul Arbogast, by and through his actions, directly participated in the

        design, manufacture, assembling, installing, marketing and/or selling or placing into the stream of

        commerce the Frontline Roll Case 28” conveyor system within the boundaries of the

        Commonwealth of Kentucky.

               19.     Defendants knew or should have known that the Frontline Roll Case 28” conveyor

        system would reach users, consumers and sawmill employees in the Commonwealth of Kentucky

        and knew or should have known that the Frontline Roll Case 28” conveyor system was destined
                                                                                                               COM : 000005 of 000018




        for use in situations where the wood and/or debris might/would get stuck between the rolls as the

        wood and/or debris traveled on the conveyor and that sawmill employees would rely on the ability


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        of the conveyor to protect them from getting injured. Defendants therefore had a duty to

        manufacture, assemble, and/or install the Frontline Roll Case 28” conveyor in a way that would

        prevent wood and/or debris from getting stuck between the rolls of the conveyor and exposing

        employees of the saw mills to severe and disabling injuries.

               20.     Defendants owed a duty to Plaintiffs, and other users, consumers and sawmill

        employees to properly assemble and install, design, manufacture, market and/or sell or place into

        the stream of commerce conveyors consistent with the safety standards of American National

        Standards Institute (ANSI), Occupational Safety and Health Administration (OSHA), other safety

        standards and/laws and the laws of the State of Kentucky.

               21.     Defendants breached this duty by marketing, assembling, installing, and/or

        manufacturing a Frontline Roll Case 28” conveyor system that:




                                                                                                             Presiding Judge: HON. JAMES BRANTLEY (604268)
               a)      Would not prevent wood and/or debris from getting stuck between the rolls and

        exposing employees of the saw mills to severe and disabling injuries;

               b)      Failed to provide the following: an accessible emergency shut off/brake system for

        a foreseeable area of exposure on the conveyor system, operator’s manual, and maintenance

        manual;

               c)      Did not meet the applicable requirements for design, construction, inspection,

        testing, maintenance, and operation;

               d)      Did not have emergency stopping devices at each control station or a lock-out

        control system within easy reach of operating personnel;

               e)      Did not have suitable guards placed to prevent access to the danger area;
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               f)      Did not have an overload device designed to quickly shut off the electric power or

        disconnect the conveyor or drive parts in the event of overload;


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               g)      Did not have suitable guards to protect working areas, isles or thoroughfares from

        the hazards or dislodged materials;

               h)      Did not have practical, electrical and/or mechanical devices to automatically stop

        a conveyor when the conveyor, bin, hopper, chute, etc., to which it feeds, has been stopped or has

        been blocked with loads so that it cannot receive additional loads or material;

               i)      Emergency stop switches were not provided at all points along the conveyor, where

        potential hazards exist;

               j)      Should have been guarded by hand rails, guard plates, etc., to minimize the

        possibility of operator's limbs or clothing being caught between the moving parts of the conveyor

        and/or the load, and stationary parts of the conveyor structure.

               22.     Defendants further breached their duty(ies) to Plaintiffs by:




                                                                                                                Presiding Judge: HON. JAMES BRANTLEY (604268)
               a)      Not developing and implementing an energy control program consisting of

        procedures, training and periodic inspections prior to any employee performing

        maintenance/service on equipment, such as, but not limited to, saws, conveyors, chipper/hog, etc.

        located at the work place where the unexpected energizing, start up or release of stored energy

        could occur and cause serious injury or death;

               b)      Not guarding the rotating 6” diameter metal screw rollers located on the Frontline

        Roll Case Conveyor in the Production Department; and

               c)      Not enclosing chains and sprockets on the Rip Saw Transfer Conveyor

        (“Unscrambler), located in the Production Department.

               23.     The above failures to properly assemble, install, design, manufacture, and install
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        the conveyor system resulted in a hazardous condition. A serious injury was foreseeable from this

        hazard to the designer, manufacturer, and installer. The above failures resulted in serious injuries


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        to Plaintiff when his arm became entrapped in a conveyor roller that did not provide access to the

        emergency shut off/brake system.

               24.     As a direct and proximate result of the foregoing breach(es) of duty(ies), Plaintiff,

        Dave E. Trotter sustained severe and disabling injuries, serious mental and physical pain and

        suffering, lost wages and impairment of earning capacity, will incur future lost earnings, has

        incurred medical bills and related expenses, past, present and future, has incurred miscellaneous

        inconvenience and expense, past, present and future. Defendants’ negligence was a substantial

        factor in causing the injuries.

                                       COUNT II
               NEGLIGENCE PER SE OF DEFENDANT, FRONTLINE EQUIPMENT, LLC
                                  AND PAUL ARBOGAST

               25.     Plaintiffs incorporate by reference the allegations contained in Paragraphs 1




                                                                                                               Presiding Judge: HON. JAMES BRANTLEY (604268)
        through 24 of this Complaint as if fully rewritten herein.

               26.     Defendants owed a duty to Plaintiffs, and other users, consumers and sawmill

        employees to design, manufacture, market and/or sell or place into the stream of commerce

        conveyors in accordance with the safety standards of American National Standards Institute

        (ANSI), Occupational Safety and Health Administration (OSHA), other safety laws and the laws

        of the state of Kentucky.

               27.     Defendants breached that duty by, among other things, failing to design, assemble,

        install, manufacture, market and/or sell or place into the stream of commerce conveyors that:

               a)      Met the applicable requirements for design, construction, inspection, testing,

        maintenance, and operation, in accordance with the ANSI B20.1-1957, Safety Code for
                                                                                                               COM : 000008 of 000018




        Conveyors, Cableways, and Related Equipment.




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               b)      Did not have emergency stopping devices at each control station or a lock-out

        control system within easy reach of operating personnel, in accordance with the ANSI Z50.1.,

        Safety Standards, (4.3.2).

               c)      Did not have suitable guards placed to prevent access to the danger area, in

        accordance with ANSI B20.1-1957, Safety Code for Conveyors, Cableways, and Related

        Equipment, 29 CFR 1926.555, Section 6, (605).

               d)      Did not have an overload device designed to quickly shut off the electric power or

        disconnect the conveyor or drive parts in the event of overload, in accordance with ANSI B20.1-

        1957, Safety Code for Conveyors, Cableways, and Related Equipment, 29 CFR 1926.555, Section

        6, (606).

               e)      Did not have suitable guards to protect working areas, isles or thoroughfares from




                                                                                                              Presiding Judge: HON. JAMES BRANTLEY (604268)
        the hazards or dislodged materials, in accordance with ANSI B20.1-1957, Safety Code for

        Conveyors, Cableways, and Related Equipment, 29 CFR 1926.555, Section 6, (609).

               f)      Did not have practical, electrical and/or mechanical devices to automatically stop

        a conveyor when the conveyor, bin, hopper, chute, etc., to which it feeds, has been stopped or has

        been blocked with loads so that it cannot receive additional loads or material, in accordance with

        ANSI B20.1-1957, Safety Code for Conveyors, Cableways, and Related Equipment, 29 CFR

        1926.555, Section 6 (610).

               g)      Emergency stop switches were not provided at all points along the conveyor, where

        potential hazards exist, in accordance with ANSI B20.1-1957, Safety Code for Conveyors,

        Cableways, and Related Equipment, 29 CFR 1926.555, Section 11 (b).
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               h)      Should have been guarded by hand rails, guard plates, etc., to minimize the

        possibility of operator's limbs or clothing being caught between the moving parts of the conveyor


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        and/or the load, and stationary parts of the conveyor structure, in accordance with ANSI B20.1-

        1957, Safety Code for Conveyors, Cableways, and Related Equipment, 29 CFR 1926.555, Section

        17.

                  28.   Defendants further breached this duty by failing:

                  a)    to develop and implement an energy control program consisting of procedures,

        training and periodic inspections prior to any employee performing maintenance/service on

        equipment, such as, but not limited to, saws, conveyors, chipper/hog, etc. located at the work

        place where the unexpected energizing, start up or release of stored energy could occur and cause

        serious injury or death, in accordance with 29 CFR1910.147(c)(1);

                  b)    to guard the rotating 6” diameter metal screw rollers located on the Frontline Roll

        Case Conveyor in the Production Department, in accordance with 29 CFR 1910.212 (a)(1); and




                                                                                                                Presiding Judge: HON. JAMES BRANTLEY (604268)
                  c)    to enclose chains and sprockets on the Rip Saw Transfer Conveyor

        (“Unscrambler), located in the Production Department, in accordance with 29 CFR

        1910.219(f)(3).

                  29.   As a direct and proximate result of Defendants’ negligence, Plaintiff, Dave E.

        Trotter has endured pain and suffering, incurred medical expenses and miscellaneous expenses,

        has loss of income and will lose incur in the future, and will continue to suffer and sustain losses,

        including but not limited to, future pain and suffering, and medical expenses.

                  30.   Defendants’ negligence per se was a substantial factor in causing said injuries and

        losses.
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                                      COUNT III
              NEGLIGENT DESIGN OF DEFENDANTS, FRONTLINE EQUIPMENT, LLC
                                 AND PAUL ARBOGAST

               31.     Plaintiffs incorporate by reference the allegations contained in Paragraphs 1

        through 30 of this Complaint as if fully rewritten herein.

               32.     Defendants directly participated in the design, assembling, installing, manufacture,

        marketing, selling, approval of and/or certification of the safety of or placing into the stream of

        commerce the conveyors.

               33.     Defendants knew or should have known that the conveyors (system) would reach

        users, consumers and sawmills in substantially the same state and knew or should have known that

        the conveyors were destined for use in situations where a piece of bark might get stuck between

        the rolls as they travel on the conveyor and that sawmill employees would rely on the ability of




                                                                                                                Presiding Judge: HON. JAMES BRANTLEY (604268)
        the conveyor to protect them from getting injured. Defendants therefore had a duty to design,

        manufacture, market, sell, approve of and/or certify the safety of the conveyors in a way that

        would prevent barks from getting jammed between the rolls of the conveyor and exposing

        employees of the saw mills to severe and disabling injuries.

               34.     Defendants breached this duty by designing, assembling, installing, manufacturing,

        marketing, selling, approving and or certifying the safety of the conveyors that failed to provide

        the following: an accessible emergency shut off/brake system for a foreseeable area of exposure

        on the conveyor system, warnings, operator’s manual, and maintenance manual. The failure to

        properly design, manufacture, and install the conveyor with an emergency cut off/brake system

        that was accessible in a foreseeable area of exposure on the conveyor system resulted in a
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        hazardous condition. A serious injury was foreseeable from this hazard to the designer,

        manufacturer, and installer. The above failures resulted in serious injuries to Plaintiff when his


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        hand became entrapped in a conveyor roller that did not provide access to the emergency shut

        off/brake system.

               35.     As a direct and proximate result of the foregoing breach of duty, Plaintiff, Dave E.

        Trotter has incurred medical bills and will incur medical bills in the future, suffered severe and

        disabling injuries, lost the capacity to earn money, has endured pain and suffering and lost

        enjoyment of his life. Defendants’ negligence was a substantial factor in causing the injuries.

                                    COUNT IV
          NEGLIGENT FAILURE TO WARN OF DEFENDANTS FRONTLINE EQUIPMENT,
                             LLC AND PAUL ARBOGAST

               36.     Plaintiffs incorporate by reference the allegations contained in Paragraphs 1

        through 35 of this Complaint as if fully rewritten herein.

               37.     Defendants at all relevant times, were engaged in the business of designing,




                                                                                                                Presiding Judge: HON. JAMES BRANTLEY (604268)
        assembling, installing, manufacturing, advertising, marketing, approving of, certifying the safety

        of and selling of the conveyors for use in sawmill, to the owners of the sawmills and ultimately to

        its users and consumers, including Dave E. Trotter. Defendants had a duty to warn the owners of

        sawmills and the ultimate users and consumers of the conveyors of its defective nature.

               38.     Defendants were aware or through the exercise of reasonable diligence and

        ordinary care should have been aware of the unreasonably dangerous condition of the conveyor

        system installed and Defendants breached that duty by failing to warn the owners of sawmills and

        the ultimate users and consumers of the conveyors of its defective nature. Appropriate warnings

        regarding the potential “caught by” conveyor hazard and ensuing use of the emergency shut off

        cable and an operator’s manual with safe setup and use instructions as well as hazard warnings
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        would have communicated the hazardous, defective, and dangerous condition to subsequent

        purchasers and users.


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               39.     As a direct and proximate result of the foregoing breach of duty, Plaintiff, Dave E.

        Trotter has incurred medical bills and will incur medical bills in the future, suffered severe and

        disabling injuries, lost the capacity to earn money, has endured pain and suffering and lost

        enjoyment of his life. Defendants’ negligence was a substantial factor in causing the injuries.

                                       COUNT V
              STRICT LIABILITY OF DEFENDANTS, FRONTLINE EQUIPMENT, LLC
            DUE TO ITS DEFECTIVE DESIGN AND MANUFACTURING DEFECT OF THE
                FRONTLINE ROLL CASE 28” CONVEYOR AND PAUL ARBOGAST

               40.     Plaintiffs incorporate by reference the allegations contained in Paragraphs 1

        through 39 of this Complaint as if fully rewritten herein.

               41.     Defendants, at all relevant times, were engaged in the business of manufacturing,

        assembling, installing, modifying, advertising, marketing and selling of the Frontline Roll Case

        28” conveyor (system), for transportation of wooden boards, in sawmills, to the owners of the




                                                                                                                Presiding Judge: HON. JAMES BRANTLEY (604268)
        sawmills and ultimately to the users and consumers, including David Trotter. Plaintiff states that

        the Frontline Roll Case 28” conveyor (system) being used by his Employer, Larix Inc. on October

        18, 2017, was designed, assembled, installed, manufactured, modified, advertised and/or sold by

        the Defendants.

               42.     Defendants were aware or through the exercise of reasonable diligence and

        ordinary care should have been aware of the unreasonably dangerous condition of the Frontline

        Roll Case 28” conveyor (system) for use in a sawmill due to a defective design and a defect in

        manufacturing, assembling, and/or installation.

               43.     Defendants’ product was dangerous and unfit for the purpose for which it was

        intended to be used due to its defective design and a defect in manufacturing.
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               44.     The defectiveness of the Frontline Roll Case 28” conveyor (system) was a direct

        and proximate cause of the Dave E. Trotter’s injuries and the Defendants’ placing of a defective
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        and unreasonably dangerous product in the stream of commerce which ultimately reached the

        employees at Larix, Inc. was a direct and proximate cause of the injuries that Dave E. Trotter

        sustained on October 18, 2017.

               45.     Defendants were aware or through the exercise of reasonable diligence and

        ordinary care should have been aware of the unreasonably dangerous condition of the Frontline

        Roll Case 28” conveyor for use in a sawmill and that under such conditions the Defendants had an

        obligation to assure that each Frontline Roll Case 28” conveyor was designed and manufactured in

        a safe and reasonable manner, including the Frontline Roll Case 28” conveyor operated by Dave

        E. Trotter.

                                         COUNT VI
              STRICT LIABILITY OF DEFENDANT FRONTLINE EQUIPMENT, LLC DUE
                                 TO ITS FAILURE TO WARN




                                                                                                               Presiding Judge: HON. JAMES BRANTLEY (604268)
               46.     Plaintiffs incorporate by reference the allegations contained in Paragraphs 1

        through 45 of this Complaint as if fully rewritten herein.

               47.     Defendant, at all relevant times, were engaged in the business of designing,

        manufacturing, assembling, installing, modifying, advertising, marketing and selling of the

        Frontline Roll Case 28” conveyor, for use in sawmills, to the owners of the sawmills and

        ultimately to the users and consumers of Frontline Roll Case 28” conveyor (system), including

        Dave E. Trotter. Plaintiff states that the Frontline Roll Case 28” conveyor (system) involved with

        injuring Dave E. Trotter was driving on October 18, 2017 was manufactured and/or modified by

        Defendant.

               48.     Defendant, by placing its product into the stream of commerce, implied by
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        warranty that the Frontline Roll Case 28” conveyor (system) was of good and merchantable

        quality for its ordinary and intended use and foreseeable misuse.


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               49.     Defendant placed this product into the stream of commerce in a condition

        unreasonably hazardous to the intended user or consumer and the intended user or consumer could

        not discover this defect in the intended and ordinary use of the Defendant’s product. The

        defective nature of the Defendant’s product was present when the Frontline Roll Case 28”

        conveyor left the control of the Defendant and the Frontline Roll Case 28” conveyor, at all times

        relevant herein, was in substantially the same condition as at the time it left the Defendant’s

        control and the Frontline Roll Case 28” conveyor had not been substantially altered from the time

        it left the Defendants control to the time it reached the hands of the ultimate user and consumer.

               50.     Defendant was aware or, through the exercise of reasonable diligence and ordinary

        care, should have been aware of the unreasonably dangerous condition of the Frontline Roll Case

        28” conveyor (system) for use in a sawmill and further that under such conditions, Defendant had




                                                                                                                 Presiding Judge: HON. JAMES BRANTLEY (604268)
        an obligation to warn or make safe and failed to warn Dave E. Trotter of the defective nature of

        the Frontline Roll Case 28” conveyor.

               51.     Defendant’s product was dangerous and unfit for the purpose for which it was

        intended to be used due to its defective warning.

               52.     The defectiveness of the Frontline Roll Case 28” conveyor (system) was a direct

        and proximate cause of Dave E. Trotter’s injuries and Defendant’s placing of a defective and

        unreasonably dangerous product in the stream of commerce which ultimately reached the

        employees at Larix, Inc., and was a direct and proximate cause of the injuries that Dave E. Trotter

        sustained on October 18, 2018.

                                         COUNT VII
                          BREACH OF EXPRESS AND IMPLIED WARRANTIES
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               53.     Plaintiffs incorporate by reference the allegations contained in Paragraphs 1

        through 52 of this Complaint as if fully rewritten herein.
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                54.     Defendants gave certain express and applied warranties to the relevant public, to

        Larix, Inc. and to the employees of Larix, Inc that the conveyors were safe for the purposes for

        which they were intended. Larix, Inc. and the employees at Larix, Inc. relied on the

        representations about the safety of the conveyors. Defendants breached these warranties, both

        expressed and implied in the following manner:

                A.      In failing to provide a safely designed, constructed, manufactured and assembled

        product.

                B.      In failing to use proper techniques in the design and manufacture of its product.

                C.      In failing to warn Larix, Inc. and the employees at Larix, Inc. of the defective

        nature of its product.

                D.      In failing to properly test and inspect the conveyors before delivery to the ultimate




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        consumer and user.

                55.     The defective conveyor system was a direct and proximate cause of the injuries

        sustained by Dave E. Trotter and Defendants’ breach of express and implied warranties was a

        direct and proximate cause of the injuries sustained by Dave E. Trotter on October 18, 2017.

        Defendants’ breach of express and implied warranties was a substantial factor in causing Dave E.

        Trotter’s injuries.

                                            LOSS OF CONSORTIUM

                56.     Plaintiffs incorporate by reference the allegations contained in Paragraphs 1

        through 55 of this Complaint as if fully rewritten herein.

                57.     Plaintiff Dave E. Trotter was/is married to Brendi Jennifer Trotter at the time of his
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        injuries on October 18, 2017. As a direct and proximate result of the Defendants’ defective

        product, willful and negligent acts and/or omissions, Plaintiff Brendi Jennifer Trotter has suffered


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        the loss of support, services and society, including but not limited to the loss of companionship,

        consortium, care, assistance, attention, extreme grief, anguish and emotional upset.

               58.     Additionally, Plaintiff Brendi Jennifer Trotter, as a result of the Defendants’

        negligence, has provided assistance to her husband, which has resulted in her missing work and

        losing wages and will suffer lost wages in the future.

        WHEREFORE, Plaintiffs pray for the following relief,

               A.      A trial by jury;

               B.      For an award for past, present, future: mental and physical pain, suffering, lost

               wages, future lost wages, medical bills, future medical bills, out of pocket expenses, loss

               of consortium, loss of enjoyment of life, damages each of which exceed the minimum

               jurisdictional amount of this Court, in a reasonable and fair amount to be determined by




                                                                                                                Presiding Judge: HON. JAMES BRANTLEY (604268)
               the jury consistent with the evidence;

               C.      Court costs and attorney fees;

               D.      Pre and post judgment interest; and

               E.      For any and all other relief that the Plaintiffs may otherwise be entitled.

                                                               Respectfully Submitted,




                                                               /s/ Roger N. Braden
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